                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           GREENSBORO DIVISION

EQUAL EMPLOYMENT OPPORTUNITY             )                    CIVIL ACTION NO.
COMMISSION                               )
                                         )                         1:07-cv-874
                 Plaintiff,              )
           v.                            )                      COMPLAINT
                                         )                  JURY TRIAL DEMAND
TRIAD RACING DEVELOPMENT, INC.           )
                                         )
                  Defendant.             )
________________________________________ )

                              NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964 and Title I of the

Civil Rights Act of 1991 to correct unlawful employment practices on the basis of

religion (Judaism), and to provide appropriate relief to Wayne Kanter who was adversely

affected by such practices.     Specifically Plaintiff, Equal Employment Opportunity

Commission (the “EEOC” or the “Commission”) alleges that Defendant Triad Racing

Development, Inc. (“Defendant”) subjected Wayne Kanter to a hostile work environment

because of his religion, Judaism, which resulted in his constructive discharge.

                             JURISDICTION AND VENUE

       1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,

1337, 1343 and 1345.      This action is authorized and instituted pursuant to Section

706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

2000e-5(f)(1) and (3) (“Title VII”) and Section 102 of the Civil Rights Act of 1991, 42

U.S.C. § 1981a.



                                             1


      Case 1:07-cv-00874-NCT-RAE Document 1 Filed 11/16/07 Page 1 of 6
       2.     The employment practices alleged to be unlawful were committed within

the jurisdiction of the United States District Court for the Middle District of North

Carolina.

                                         PARTIES

       3.     Plaintiff,   the   Equal   Employment       Opportunity     Commission   (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation and enforcement of Title VII, and is expressly authorized to

bring this action by Section 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and

(3).

       4.     At all relevant times, Defendant has continuously been doing business in

the State of North Carolina and the city of High Point, and has continuously had at least

15 employees.

       5.     At all relevant times, Defendant has been an employer engaged in an

industry affecting commerce within the meaning of Sections 701(b), (g) and (h) of Title

VII, 42 U.S.C. §§ 2000e(b), (g) and (h).


                                 STATEMENT OF CLAIMS

       6.     More than thirty days prior to the institution of this lawsuit, Wayne Kanter

filed a charge with the Commission alleging violations of Title VII by Defendant. All

conditions precedent to the institution of this lawsuit have been fulfilled.

       7.     From in and around January 2005 until around December 2005, Defendant

engaged in unlawful employment practices at its facility in High Point, North Carolina, in



                                              2


       Case 1:07-cv-00874-NCT-RAE Document 1 Filed 11/16/07 Page 2 of 6
violation of Section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1). Specifically,

Defendant subjected Wayne Kanter to a hostile work environment based on his religion,

Judaism. The harassment was severe or pervasive and was perpetrated by a manager in

Mr. Kanter’s direct line of supervision. The harassment included pervasive epithets

based on Kanter’s religion. Although Mr. Kanter complained about the harassment to

Defendant, the harassment continued. The harassment was so intolerable that Mr. Kanter

was forced to resign.

      8.      The effect of the practice complained of in paragraph 7 above has been to

deprive Wayne Kanter of equal employment opportunities and otherwise adversely affect

his status as an employee because of his religion, Judaism.

      9.     The unlawful employment practices complained of in paragraph 7 above

were intentional.

      10.    The unlawful employment practices complained of in paragraph 7 above

were done with malice or with reckless indifference to the federally protected rights of

Wayne Kanter.

                                 PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:

      A.     Grant a permanent injunction enjoining Defendant, its officers, successors,

assigns, and all persons in active concert or participation with them, from creating or

maintaining a sexually hostile work environment or any other employment practice

which discriminates on the basis of religion, and from retaliating against employees who

oppose practices made unlawful by Title VII.


                                            3


      Case 1:07-cv-00874-NCT-RAE Document 1 Filed 11/16/07 Page 3 of 6
         B.   Order Defendant to institute and carry out policies, practices, and programs

which provide equal employment opportunities for employees regardless of their religion

and which eradicate the effects of their past and present unlawful employment practices.

         C.   Order Defendant to make whole Wayne Kanter by providing compensation

for past and future pecuniary losses resulting from the unlawful employment practices

described in paragraph 7 above, including but not limited to medical expenses, in

amounts to be determined at trial.

         D.   Order Defendant to make whole Wayne Kanter by providing compensation

for past and future nonpecuniary losses resulting from the unlawful practices complained

of in paragraph 7 above, including but not limited to emotional pain, suffering,

inconvenience, loss of enjoyment of life, humiliation, loss of self-esteem and loss of civil

rights, in amounts to be determined at trial.

         E.   Order Defendant to pay Wayne Kanter punitive damages for its malicious

and reckless conduct described in paragraph 7 above, in amounts to be determined at

trial.

         F.   Grant such further relief as the Court deems necessary and proper in the

public interest.

         H.   Award the Commission its costs of this action.




                                                4


         Case 1:07-cv-00874-NCT-RAE Document 1 Filed 11/16/07 Page 4 of 6
                            JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by its

complaint.

      DATED this16th day of November 2007.


                                  Respectfully submitted,

                                  RONALD S. COOPER
                                  General Counsel

                                  JAMES L. LEE
                                  Deputy General Counsel

                                  GWENDOLYN YOUNG REAMS
                                  Associate General Counsel

                                  /s/ Lynette A. Barnes
                                  LYNETTE A. BARNES (N.C. Bar No. 19732)
                                  Regional Attorney
                                  EQUAL EMPLOYMENT OPPORTUNITY
                                  COMMISSION
                                  129 W. Trade Street., Suite 400
                                  Charlotte, NC 28202
                                  Telephone: (704) 344-6880
                                  Facsimile (704) 344-6780
                                  E-mail: Lynette.Barnes@eeoc.gov


                                  TRACY HUDSON SPICER
                                  Supervisory Trial Attorney
                                  EQUAL EMPLOYMENT OPPORTUNITY
                                  COMMISSION
                                  1801 L Street, N.W., Suite 100
                                  Washington, DC 20507-1002
                                  Telephone: (202) 419-0711
                                  Facsimile: (202) 419-0701
                                  E-mail: Tracy.Spicer@eeoc.gov




                                        5


      Case 1:07-cv-00874-NCT-RAE Document 1 Filed 11/16/07 Page 5 of 6
                          /s/ Kerith Cohen
                          KERITH COHEN (Gov’t Bar No. 21059)
                          Senior Trial Attorney
                          EQUAL EMPLOYMENT OPPORTUNITY
                          COMMISSION
                          Norfolk Federal Building
                          200 W. Granby Street, Suite 739
                          Norfolk, Virginia 23510
                          Telephone: (757) 441-3505
                          Facsmile: (757) 441-6720
                          E-mail: Kerith.Cohen@eeoc.gov




                               6


Case 1:07-cv-00874-NCT-RAE Document 1 Filed 11/16/07 Page 6 of 6
